Case 2:20-cv-00014-JPJ-PMS Document 127 Filed 03/28/22 Pagelof2 Pageid#: 934

CLERK'S OFFICE U.S. DIST. COURT

IN THE UNITED STATES DISTRICT COURT AT ABINGDON, VA
FILED
WESTERN DISTRICT OF VIRGINIA
MAR 28 2022
JULIA Cc.

Melinda Scott, rae it 2 ale"
DEPU A

Plaintiff,

Vv. CL NO. 2:20cv14

Wise Co. DSS, et. al.,

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Defendants--

NOTICE OF APPEAL

Plaintiff Melinda Scott will appeal to the Fourth Circuit US Court of Appeals the following Orders:

1. Order signed by magistrate judge Pamela Sargent dated March 9, 2022 (docket #125) which is
an order denying Plaintiffs Motion for Show Cause {docket #115)
2. Order signed by magistrate judge Pamela Sargent dated March 8, 2022 (docket #121) which is

an order on Plaintiff's Motion for Hearing (docket #97)

Pursuant to Federal Rule 3(a)(1), an additional copy of this Notice of Appeal has been sent to the Clerk
to comply with Rule 3{d). .

SIGNED

 

Melinda Scott, pro-se

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Richmond, VA 23218
mscottw@gmu.edu
540-692-2342
 

 

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CERTIFICATE OF SERVICE

|, Melinda Scott, Plaintiff, do hereby certify that | have mailed a copy of this NOTICE OF APPEAL to Counsel

for Defendant, Joshua Moon, at Matthew Hardin, 1725 | St. NW, Ste. 300, Washington D.C., 20006 on this
iy 2022.

Df say of

SIGNED,

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